Case 1:05-cv-01548-RCL

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May 4, 2023

Office of the Clerk
Attn: Angela D. Caesar

Document 281

United States District Court for the District of Columbia

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“Not a member of the D.C.

Bar. Practice limited to patent,
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and cases in federal courts.

Re: — Request for Service of Process on Defendants Russian Federation et al. in
Agudas Chasidei Chabad of United States v. Russian Federation et al.,

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G, Franklin Rothwell
(1928-2011)

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Civil Action No. 05-1548-RCL (D.D.C.)
Dear Clerk of Court:

Enclosed please find documents and instructions relating to service of process on the Defendants
Russian Federation et al., in Agudas Chasidei Chabad of United States v. Russian Federation et
al., No, 05-ev-1548-RCL (D.D.C.). On behalf of the Plaintiff in the above-referenced matter, we
are writing to request that you take all necessary steps, pursuant to the U.S. Foreign Sovereign
Immunities Act (“F.S.1.A.”), 28 U.S.C, § 1608(a)(4), to effect service on Defendants Russian
Federation, et al., via the Ministry of Foreign Affairs of the Russian Federation.

Background

In 2004, Plaintiff Agudas Chasidei Chabad of United States (“Chabad” or “Plaintiff) sued
Defendants Russian Federation et al. (“Russian Federation” or “Defendants’) for the return of
religious materials (“the Library” and “the Archive”) in the possession of the Russian Federation.
The Defendants appeared and moved to dismiss the complaint, alleging that they were immune
from suit. Though Congress has established a general rule depriving courts of subject-matter
jurisdiction over lawsuits against foreign states—an instruction located in the Foreign Sovereign
Immunities Act (“FSIA”), 28 U.S.C. § 1604 et seg.—the statute provides an exception to that
presumption when property is taken in violation of international law. /d. § 1605(a)(3). This
Court held that, pursuant to Section 1605(a)(3), the Court maintained subject-matter jurisdiction
over claims related to the Archive, but not claims related to the Library. Agudas Chasidei
Chabad of U.S. v. Russian Fed’n, 466 F. Supp. 2d 6, 31 (D.D.C. 2006). This ruling was appealed

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Clerk, U.S. District & Bankruptcy
Courts for the District of Columbia
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and the D.C. Circuit affirmed in part, vacated in part, and reversed in part, concluding that, under
Section 1605(a)(3), this Court had subject-matter jurisdiction over Chabad’s claims related to
both the Archive and the Library. Agudas Chasidei Chabad of U.S. v. Russian Fed'n, 528 F.3d
934, 939, 955 (D.C. Cir. 2008).

After the D.C. Circuit remanded the case, Defendants withdrew from further participation

in this action. Dkt. No. 71-1. This Court subsequently entered default judgment against all
Defendants. Agudas Chasidei Chabad of U.S. v. Russian Fed'n, 729 F. Supp. 2d 141, 148
(D.D.C. 2010). In 2011, after determining that Russia had received adequate notice of the Court's
default judgment, and “that plaintiff ha{d] demonstrated defendants’ non-compliance to a
reasonable certainty,” this Court instructed Defendants to show cause why they should not be held
in civil contempt. Agudas Chasidei Chabad of U.S. v. Russian Fed'n, 798 F. Supp. 2d 260, 273
(D.D.C. 2011) (internal quotation marks omitted). The Court then directed Chabad to serve
copies of its motion for sanctions and the order to show cause on Defendants via mail using the
addresses Defendants’ former counsel provided, and gave Defendants the same 60 days they are
generally entitled in responding to service of papers initiating suit under the F.S.1.A. /d. at 273-
74.

In 2013, after Defendants failed to respond, Chabad moved for civil monetary contempt
sanctions against Defendants. 4gudas Chasidei Chabad of U.S. v. Russian Fed’n, 915 F. Supp.
2d 148, 149-51 (D.D.C. 2013). This request came after numerous meetings at the Russian
Embassy in Washington, DC, during which the parties were unable to reach a settlement. /d. at
150-51. After determining that civil monetary sanctions were both within the Court’s authority
and appropriate for the situation, the Court issued sanctions in the amount of $50,000 per day
until Defendants comply with the Court’s 2010 order to return the materials. /d. at 154-55;
Order, Dkt. 115. The materials have yet to be returned.

Following the imposition of sanctions, this Court has issued three interim judgments of accrued
sanctions. Interim Judgment, Dkt. 144; Order and Judgment, Dkt. 201; Revised Interim
Judgment, Dkt. 263. Chabad also subpoenaed various entities, including VEB.RF and Tenex-
USA, to discover Russian Federation property that might satisfy the accrued sanctions debt.
Following that discovery, Chabad moved to attach and execute to satisfy the sanctions debt, or
alternatively to assert and record judicial liens. See Dkt, 235, 236, After the motion was fully
briefed, this Court denied without prejudice Chabad’s motion because Defendants had not yet
been provided sufficient notice of the monetary sanctions judgments that Chabad seeks to
enforce. See Memorandum Opinion, Dkt. 268. This Court ordered Chabad to serve Defendants,
in compliance with the manner prescribed for service in 28 U.S.C. § 1608, with the Court's
Sanctions Order, Dkt. 115; the Court Memorandum Opinion on Contempt Sanctions, Dkt. 116:
the Interim Judgment, Dkt. 144; the Order and Judgment, Dkt. 201; and the Revised Interim
Judgment, Dkt. 263. See Order, Dkt. 267.
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Request for Assistance with Service

As mentioned above, on February 27, 2023, Judge Royce C. Lamberth issued an Order (Dkt. 276)
and Memorandum Opinion (Dkt. 268) in the above-captioned matter denying Chabad’s motion to
attach and execute to satisfy the sanctions debt, or alternatively to assert and record judicial liens,
because Defendants had not yet been provided sufficient notice of the monetary sanctions
judgments that Chabad seeks to enforce. The Order directed Chabad to provide service of the
aforementioned sanctions judgments, orders and opinions on all Defendants, in compliance with
the manner prescribed for service in the Foreign Sovereign Immunities Act, 28 U.S.C. § 1608.

There is no special arrangement between the parties in this case for service on the Russian
Federation, so service under 28 U.S.C. § 1608(a)(1) is not an option. Service under 28
U.S.C. §§ 1608(a)(2) and 1608(a)(3) is also not an option because Russian does not cooperate
with the United States with respect to the Hague Service Convention, there is currently no
mail/courier service to Russia, and Russia has formally objected to service by mail.
Therefore, the only option available to Chabad for service of papers on the Russian
Federation, as directed by this Court, is under 28 U.S.C. § 1608(a)(4). Accordingly, we
hereby request your assistance with service on the Ministry of Foreign Affairs of the
Russian Federation pursuant to 28 U.S.C. § 1608(a)(4).

Under this section of the F.S.L.A., service shall be made “by sending two copies of the summons
and complaint and a notice of suit, together with a translation of each into the official language of
the foreign state, by any form of mail requiring a signed receipt, to be addressed and dispatched
by the clerk of the court to the Secretary of State in Washington, District of Columbia, to the
attention of the Director of Special Consular Services - and the Secretary shall transmit one copy
of the papers through diplomatic channels to the foreign state and shall send to the clerk of the
court a certified copy of the diplomatic note indicating when the papers were transmitted.” 28
U.S.C. § 1608(a)(4),

Enclosed in the envelope are a proposed letter from the U.S. District Court for the District of
Columbia to the U.S, Department of State, a cashier's check made payable to the U.S. Embassy
Moscow in the amount of $2,275.00 to cover the State Department fee, and two (2) sets of the
following documents:

- Notice of Suit with attached copy of the U.S. Foreign Sovereign Immunities Act - Russian
- Notice of Suit with attached copy of the U.S. Foreign Sovereign Immunities Act - English
- Sanctions Order — Jan. 16, 2013 (Dkt. 115) - Russian

- Sanctions Order — Jan, 16, 2013 (Dkt. 115) - English

- Order Granting Chabad's Motion for Sanctions - Jan. 16, 2013 (Dkt. 116) - Russian

Order Granting Chabad's Motion for Sanctions - Jan. 16, 2013 (Dkt. 116) - English

Order — Sept. 10, 2015 (Dkt. 144) - Russian

Order ~ Sept. 10, 2015 (Dkt. 144) - English
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- Order Granting Motion for Additional Interim Judgment of Accrued Sanctions - Dec. 20,
2019 (Dkt. 201) - Russian

- Order Granting Motion for Additional Interim Judgment of Accrued Sanctions - Dec. 20,
2019 (Dkt. 201) - English

- Revised Interim Judgment - Jan. 13, 2023 (Dkt. 263) - Russian

- Revised Interim Judgment - Jan. 13, 2023 (Dkt. 263) - English

- Order - Feb, 27, 2023 (Dkt. 267) - Russian

- Order - Feb, 27, 2023 (Dkt. 267) - English

- Memorandum Opinion - Feb, 27, 2023 (Dkt. 268) - Russian

- Memorandum Opinion - Feb. 27, 2023 (Dkt. 268) - English

- Translation Certification for Dkt. 115, 116, 144, 201 & 263

- Translation Certification for Dkt. 267 & 268

- Translation Certification for the Notice of Suit

- Translation Certification for the Foreign Sovereign Immunities Act

Please take the necessary steps to send the envelope containing these materials, pursuant to 28
U.S.C. § 1608(a)(4), by certified United States mail, return receipt requested, to:

U.S. Department of State

CA/OCS/L, SA-17, 10th Floor

2201 C Street, NW

Washington, DC 20522-1710

Attn: Director of Special Consular Services

If you have any questions or require additional information, please contact my colleague, Erik van
Leeuwen, at (202) 626-3521,

Thank you for your assistance in this matter.
Sincerely yours,

/s/ Robert P. Parker

Robert P. Parker (D.C. Bar No. 404066)
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Enclosures
